               Case: 4:22-mj-00026-JSD Doc. #: 1 Filed: 02/02/22 Page: 1 of 26 PageID #: 1
hawn AO 106 (Rev. 06/09) Application for a earch Warrant


                                  UNITED STATES DISTRICT COURT
                                                                         for the
                                                               Eastern District of Misso uri

                      In the Matter of the Search of                                          )
Information associated with "glennjwill20 I l@ icloud.com;"                                   )
"lexi iv89@gmaiI .com," "lexi iv89@icloud .com;"                                              )           Case       o. 4:22 MJ 26 (DD )
"lexiv89@ icloud.com;" "alexandriav89@icloud.com;"                                            )
"ekingwilliams@ icloud.com;" elijahkingw@ icloud.com that                                     ) SUB MITTED TO TH E COU RT AND
is stored at premises controlled by Apple, Inc.                                               )SIGNED BY RELIABLE ELECTRON IC MEA S


                                        APPLICATION FOR A SEARCH WARRANT
    I, DREW POLA          , a federal law enforcement officer or an attorney for the government request
a search warrant and state under penalty of perj ury that I have reason to believe that on the following property:

                                                                  SEE A TTACHME T A

located in the --~O:.. :.Ro. .T:. .H: ...:..E=RN
                                            :.=..;:,___ District of __C=-=A,. , L::.l.., ,_FO=-=-RN"'--'-l'"--A.,___,, there is now concealed

                                                                  SEE ATTACHMENT B

           The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more) :
                     evidence of a crime;
                  0 contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                  ✓ a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
              Code Section                                                                            Offense Description
     Title 2 1, U.S.C., §§ 846, 841 (a)(I )                                    Conspiracy to possess with intent to distribute controlled
                                                                               substance(s)
           The application is based on these facts:

                    SEE ATTACHED AFFIDAVIT WHICH IS I CORPORA TED HERE! BY REFERE CE.

                  ✓   Continued on the attached sheet.
                  0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ ___, is requested
                    under 18 U.S.C. § 3 103a, the basis of which is set forth on the attached sheet.
                                    I state under the penalty of perjury that the f e i · true and correct.

                                                                                           Drew Polan, Senio nspector
                                                                                           United States Marshals Service
                                                                                                                  Printed name and 1i1/e
Sworn to, attested to, and affirmed before me via
reliable electronic means pursuant to Federal Rules of
Criminal Procedure 4.1 and 41.

Date: -~Fc...!e::!:b:.!ru~a~rJ.
                        . : ,.y. !: :.2".-.:::.20~2::.!2=------ - - - -
                                                                                               /s/ David D. Noce
                                                                                                                  Judge's signature


                                                                                            DAVID D. NOCE. U.S. Magistrate Judge
City and State:             St. Louis. MO                                                                         Printed name and title
                                                                                            AUSA: STEPH EN CASEY
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                                      ATTACHMENT A

                                   Property to Be Searched

This warrant applies to information associated with:

"glennjwill201 l @icloud.com;" lex iiv89@gmail.com;" "lexiiv89@icloud.com;"
"lexiv89@ icloud.com;" "alexandriav89@icloud.com;" "ekingwilliams@icloud.com;"
"elijahkingw@icloud.com"

(the "accounts") that are stored at premises owned, maintained, controlled, or operated by Apple

Inc., a company headquartered at Apple Inc., 1 Infinite Loop, Cupertino, CA 95014.




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                                      ATTACHMENT B

Particular Things to be Seized

I.     Information to be disclosed by Apple

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Apple, regardless of whether such information is located within or outside

of the United States, including any messages, records, files, logs, or information that have been

deleted but are still avai lable to Apple, or have been preserved pursuant to a request made under

18 U.S.C. § 2703(f), Apple is required to disclose the following information to the government, in

unencrypted form whenever available, for each account or identifier listed in Attachment A:

       a.      All records or other information regarding the identification of the account, to

include full name, physical address, telephone numbers, email addresses (including primary,

alternate, rescue, and notification email addresses, and verification information for each email

address), the date on which the account was created, the length of service, the IP address used to

register the account, account status, associated devices, methods of connecting, and means and

source of payment (including any credit or bank account numbers);

       b.      All records or other information regarding the devices associated with, or used in

connection with, the account (including all current and past trusted or authorized iOS devices and

computers, and any devices used to access Apple services), including serial numbers, Unique

Device Identifiers (" UDID"), Advertising Identifiers ("IDFA"), Global Unique Identifiers

("GUID"), Media Access Control ("MAC") addresses, Integrated Circuit Card ID numbers

("ICCID"), Electronic Serial Numbers ("ESN"), Mobile Electronic Identity Numbers ("MEIN"),

Mobile Equipment Identifiers ("MEID"), Mobile Identification Numbers ("MIN"), Subscriber

Identity Modules ("SIM"), Mobile Subscriber Integrated Services Digital Network Numbers
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("MSISDN"), International Mobile Subscriber Identities (" IMSI"), and International Mobile

Station Equipment Identities ("IMEi");

       c.      The contents of all emails associated with the accounts from May I, 2021 to

present, including stored or preserved copies of emails sent to and from the account (including all

draft emails and deleted emails), the source and destination addresses associated with each email,

the date and time at which each email was sent, the size and length of each email, and the true and

accurate header information including the actual IP addresses of the sender and the recipient of the

emails, and all attachments;

       d.      The contents of all instant messages associated with the from May I , 202 I to

present, including stored or preserved copies of instant messages (including iMessages, SMS

messages, and MMS messages) sent to and from the account (i ncluding all draft and deleted

messages), the source and destination account or phone number associated with each instant

message, the date and time at which each instant message was sent, the size and length of each

instant message, the actual IP addresses of the sender and the recipient of each instant message,

and the media, if any, attached to each instant message;

       e.      The contents of all files and other records stored on iCloud, including all iOS device

backups, all Apple and third-party app data, all files and other records related to iCloud Mail,

iCloud Photo Sharing, My Photo Stream, iCloud Photo Library, iCloud Drive, iWork (including

Pages, Numbers, Keynote, and Notes), iCloud Tabs and bookmarks, and iCloud Keychain, and all

address books, contact and buddy lists, notes, reminders, calendar entries, images, videos,

voicemails, device settings, and bookmarks;

       f.      All activity, connection, and transactional logs for the account (with associated IP

addresses including source port numbers), including FaceTime call invitation logs, messaging and

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query logs (including iMessage, SMS, and MMS messages), mail logs, iCloud logs, iTunes Store

and App Store logs (including purchases, downloads, and updates of Apple and third-party apps),

My Apple ID and iForgot logs, sign-on logs for all Apple services, Game Center logs, Find My

iPhone and Find My Friends logs, logs associated with web-based access of Apple services

(including all associated identifiers), and logs associated with iOS device purchase, activation, and

upgrades;

        g.       All records and information regarding locations where the account or devices

associated with the account were accessed, including aJI data stored in connection with Location

Services, Find My iPhone, F)nd My Friends, and Apple Maps;

         h.       All records pertaining to the types of service used ;

         1.       All records pertaining to communications between Apple and any person regarding

the account, including contacts with support services and records of actions taken; and

        J.        All files, keys, or other information necessary to decrypt any data produced in an

encrypted form, when available to Apple (including, but not limited to, the keybag.txt and

fileinfolist.txt files).

         The Provider is hereby ordered to disclose the above information to the government

within 14 days of the date of this warrant.




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II.     Information to be seized by the United States

        All information described above in Section I that constitutes the location of Glenn

Williams, a federal fugitive, from May 1, 202 1 to the present, including, for each account or

identifier listed on Attachment A, information pertaining to the following matters:

        a.     Information which may reasonably assist the United States Marshals Service in

identi fying linked devices, IP addresses, third party application data, location information, and

other information which would be relevant in assisting in the location and arrest of Glenn Williams,

a federal fugitive ;

        b.     The identity of the person(s) who created or used the Apple ID, including records

that help reveal the whereabouts of such person(s);

        c.      Evidence indicating how and when the account was accessed or used, to determine

the chronological and geographic context of each account access, use and events relating to the

accounts subscriber(s);

        d.     Any records pertaining to the means and source of payment for services (including

any credit card or bank account number or digital money transfer account information);

        e.          Records and things evidencing the use of the Internet to communicate with servers,

including:

               1.      records oflnternet Protocol addresses used and records oflnternet activity;

              11.      records of Internet activity, including firewall logs, caches, browser history and

cookies, "bookmarked" or " favorite" web pages, search terms that the user entered into any

Internet search engine, and records of user-typed web addresses;




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       f.      Evidence indicating how and when the cellular device and associated cellular

service was used to determine the chronological context of cellular device use, account access,

and events relating to the crime under investigation;

       g.      Evidence indicating the geographic location of the cellular device at times

relevant to the investigation;

       h.      The identity of the person(s) who sent to and/or received communications from

the account that help reveal their whereabouts.




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                            UNITED STA TES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI

         IN THE MATTER OF T HE SEARCH              )
OF INFORMATION ASSOCIATED WTTH                     )      o. 4:22 MJ 26 (DON)
"glennjwill201 l @icloud.com"                      )
" lexiiv89@gmail.com"                              )
"lexiiv89@ icloud.com"                             )    FILED UNDER SEAL
" lexiv89@ icloud.com"                             )
"alexandriav89@icloud.com"                         )
"ekingwilliams@icloud.com"                         )SUBMITTED TO THE COURT AND
"elijahkingw@ icloud.com"                          )SIGNED BY RELIABLE ELECTRONIC
STORED AT PREMISES CO TROLLED                      )MEANS
BY APPLE, INC.                                     )


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       Senior Inspector Drew Polan, United States Marshals Service (USMS), being first duly

sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant under 18

U.S.C. §§ 2703(a), 2703(b)( I)(A) and 2703(c)(l)(A) and Federal Rule of Criminal Procedure 41

to require Apple Inc. (hereafter " Apple"), an electronic communications service/remote computing

service provider, to disclose to the United States records and other information, including the

contents of communications, associated with the above-li sted Apple ID that is stored at premises

owned, maintained, controlled, or operated by Apple, a company headquartered at 1 Infinite Loop,

Cupertino, CA. The information to be disclosed by Apple and searched by the government is

described in the following paragraphs and in Attachments A and B.

       2.      I, Drew Polan, am a Senior Inspector with the United States Marshals Service

("USMS") and, as such, I am charged with enforcing all laws in all jurisdictions of the United

States, its territories and possessions.     My current duty assignment is in the Investigative
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Operations Division, Organized Crime and Gangs Branch. My primary duty and assignment

obligates me to investigative, locate, and apprehend fugitives, and support fugitive investigative

efforts on behalf of the USMS. I have been employed with the USMS for 13 years and have a

cumulative total of 16 years of experience as a federal law enforcement officer. I have been

assigned to fugitive investigations for more than l O years and have been the lead investigator in

more than 700 fugitive investigations, in addition to providing investigative assistance in scores

of other cases. My experience also includes the utilization of various electronic surveillance

measures, empowered through legal process, in over l 00 investigations.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show simply that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.      The United States Marshals Service has probable cause to be lieve that the iCloud

accounts described herein are currently being used by Glenn WILLIAMS who is charged with

conspiracy to distribute methamphetamine, heroin, and fentanyl, in violation of Title 2 1, United

States Code, Section 846 and possessing a firearm in furtherance of a drug trafficking crime in

violation of Title 18, United States Code, Section 924(c), in Case No. 4:21-CR-00554, and whose

whereabouts are currently unknown.

       5.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that information regarding the whereabouts of Glenn WILLIAMS will

be found in the locations described in Attachment A for evidence described in Attachment B.




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                                               JURISDICTION

        6.       This Court has jurisdiction to issue the requested warrant because it is ·'a court of

competent jurisdiction" as defined by 18 U.S.C. § 27 11. 18 U. S.C. §§ 2703(a), (b)( l )(A), &

(c)( l )(A). Specifically, the Court is "a district court of the United States .. . that has jurisdiction

over the offense being investigated." 18 U.S.C. § 2711 (3)(A)(i).

                                   LOCATIONS TO BE SEARCHED

        7.       The locations to be searched are:

        "glennj wi11201 l @icloud.com"
        "lexiiv89@gmail.com"
        ·'lexiiv89@icloud .com"
        "lexiv89@icloud.com"
        ·'alexandriav89@icloud.com"
        "ekingwilliarns@icloud.com"
        "elijahkingw@icloud.com"
        (hereinafter referred to as "the account(s)")

located at a premises owned, maintained, controlled, or operated by Apple Inc., a company

headquartered at Apple Inc., I Infinite Loop, Cupertino, CA 95014.

       BACKGROUND INFORMATION RELATING TO APPLE ID AND iCLOUD 1

        8.        Apple is a United States company that produces the iPhone, iPad, and iPod Touch,

all of which use the iOS operating system, and desktop and laptop computers based on the Mac

OS operating system.




I. The infonnation in this section is based on infonnation published by App le on its website, including, but not
limited to, the following document and webpages: "U.S. Law Enforcement Legal Process G uide lines," avai lable at
http://images.apple.com/privacy/docs/legal-process-gui delines-us. pdf; "Create and start using an Apple ID,"
available at https://support.apple.com/en-us/HT203993 ; •' iCloud," available at http://www.app le.com/icloud/; " What
does iCloud back up?," available at https://support.apple.com/ kb/PH 125 19; •' iOS Security," availab le at
https://www.app le.com/business/docs/ iOS_Security_Gu ide.pdf, and •' iC loud: How Can I Use iCloud?," available at
https://support.apple.com/kb/PH26502.

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       9.      Apple provides a variety of services that can be accessed from Apple devices or, in

some cases, other devices via web browsers or mobile and desktop applications ("apps"). As

described in further detail below, the services include email, instant messaging, and file storage:

               a.      Apple provides email service to its users through email addresses at the

domain names mac.com, me.com, and icloud.com.

               b.      iMessage and FaceTime allow users of Apple devices to communicate in

real-time. iMessage enables users of Apple devices to exchange instant messages ("iMessages")

containing text, photos, videos, locations, and contacts, while FaceTime enables those users to

conduct video calls.

               c.      iCloud is a file hosting, storage, and sharing service provided by Apple.

iCloud can be utilized through numerous iCloud-connected services, and can also be used to store

iOS device backups and data associated with third-party apps.

               d.      iCloud-connected services allow users to create, store, access, share, and

synchronize data on Apple devices or via icloud.com on any Internet-connected device. For

example, iCloud Mail enables a user to access Apple-provided email accounts on multiple Apple

devices and on icloud.com. iCloud Photo Library and My Photo Stream can be used to store and

manage images and videos taken from Apple devices, and iCloud Photo Sharing allows the user

to share those images and videos with other Apple subscribers. iCloud Drive can be used to store

presentations, spreadsheets, and other documents. iCloud Tabs and bookmarks enable iCloud to

be used to synchronize bookmarks and webpages opened in the Safari web browsers on all of the

user's Apple devices. iWork Apps, a suite of productivity apps (Pages, Numbers, Keynote, and

Notes), enables iCloud to be used to create, store, and share documents, spreadsheets, and



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presentations. iCloud Keychain enables a user to keep website usemame and passwords, credit

card information, and Wi-Fi network information synchronized across multiple Apple devices.

              e.        Game Center, Apple' s social gaming network, allows users of Apple

devices to play and share games with each other.

              f.        Find My iPhone allows owners of Apple devices to remotely identify and

track the location of, display a message on, and wipe the contents of those devices. Find My

Friends allows owners of Apple devices to share locations.

              g.        Location Services allows apps and websites to use information from

cellular, Wi-Fi, Global Positioning System ("OPS") networks, and Bluetooth, to determine a user's

approximate location.

               h.       App Store and iTunes Store are used to purchase and download digital

content. iOS apps can be purchased and downloaded through App Store on iOS devices, or through

iTunes Store on desktop and laptop computers running either Microsoft Windows or Mac OS.

Additional digital content, including music, movies, and television shows, can be purchased

through iTunes Store on iOS devices and on desktop and laptop computers running either

Microsoft Windows or Mac OS.

       10.     Apple services are accessed through the use of an "Apple IO," an account created

during the setup of an Apple device or through the iTunes or iCloud services. A single Apple ID

can be linked to multiple Apple services and devices, serving as a central authentication and

syncing mechanism.

        11.    An Apple ID takes the form of the full email address submitted by the user to create

the account; it can later be changed. Users can submit an Apple-provided email address (often

ending in @icloud.com, @me.com, or @mac.com) or an email address associated with a third-

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party email provider (such as Gmail, Yahoo, or Hotmail). The Apple ID can be used to access

most Apple services (including iCloud, iMessage, and FaceTime) only after the user accesses and

responds to a "verification email" sent by Apple to that "primary" email address. Additional email

addresses ("alternate," "rescue," and "notification" email addresses) can also be associated with

an Apple ID by the user.

       12.     Apple captures information associated with the creation and use of an Apple JD.

During the creation of an Apple ID, the user must provide basic personal information including

the user' s full name, physical address, and telephone numbers. The user may also provide means

of payment for products offered by Apple. The subscriber information and password associated

with an Apple ID can be changed by the user through the "My Apple ID" and " iForgot" pages on

Apple's website. In addition, Apple captures the date on which the account was created, the length

of service, records of log-in times and durations, the types of service utilized, the status of the

account (including whether the account is inactive or closed), the methods used to connect to and

utilize the account, the Internet Protocol address (" IP address") used to register and access the

account, and other log files that reflect usage of the account.

        13.    Additional information is captured by Apple in connection with the use of an Apple

ID to access certain services. For example, Apple maintains connection logs with IP addresses

that reflect a user's sign-on activity for Apple services such as iTunes Store and App Store, iCloud,

Game Center, and the My Apple ID and iForgot pages on Apple ' s website. Apple also maintains

records reflecting a user' s app purchases from App Store and iTunes Store, "call invitation logs'·

for FaceTime calls, "query logs" for iMessage, and " mail logs" for activity over an Apple-provided

email account. Records relating to the use of the Find My iPhone service, including connection

logs and requests to remotely lock or erase a device, are also maintained by Apple.

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       14.     Apple also maintains information about the devices associated with an Apple ID.

When a user activates or upgrades an iOS device, Apple captures and retains the user's IP address

and identifiers such as the Integrated Circuit Card ID number (' ICCID"), which is the serial

number of the device's SlM card. Similarly, the telephone number of a user's iPhone is linked to

an Apple ID when the user signs in to FaceTime or iMessage. Apple also may maintain records

of other device identifiers, including the Media Access Control address ("MAC address"), the

unique device identifier ('·U DID"), and the serial number. In addition, information about a user's

computer is captured when iTunes is used on that computer to play content associated with an

Apple [D, and information about a user' s web browser may be captured when used to access

services through icloud.com and apple.com. Apple also retains records related to communications

between users and Apple customer service, including communications regarding a particular

Apple device or service, and the repair history for a device.

        15.    Apple provides users with five gigabytes of free electronic space on iCloud, and

users can purchase additional storage space. That storage space, located on servers controlled by

Apple, may contain data associated with the use of iCloud-connected services, including: emai l

(iCloud Mail); images and videos (iCloud Photo Library. My Photo Stream, and iCloud Photo

Sharing); documents, spreadsheets, presentations, and other files (iWork and iCloud Drive); and

web browser settings and Wi-Fi network information (iCloud Tabs and iCloud Keychain). iCloud

can also be used to store iOS device backups, which can contain a user' s photos and videos,

iMessages, Short Message Service ("SMS'') and Multimedia Messaging Service ("MMS'')

messages, voicemail messages, call history, contacts, calendar events, reminders, notes, app data

and settings, Apple Watch backups, and other data. Records and data associated with third-party

apps may also be stored on iCloud; for example, the iOS app for WhatsApp, an instant messaging

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service, can be configured to regularly back up a user's instant messages on iCloud Drive. Some

of this data is stored on Apple's servers in an encrypted form but can nonetheless be decrypted by

Apple.

         16.   In some cases, account users will communicate directly with Apple about issues

relating to their account, such as technical problems, billing inquiries, or complaints from other

users. Apple typically retains records about such communications, including records of contacts

between the user and the provider's support services, as well records of any actions taken by the

provider or user as a result of the communications.

                                          PROBABLE CAUSE

         Law enforcement, including the United States Marshals Service (USMS), is conducting a

         fugitive investigation for Glenn WILLIAMS.

         17.    WILLIAMS was charged in Case         o. 4:21-CR-00554 with conspiracy to distribute

methamphetamine, heroin, and fentanyl , in violation of Title 2 1, United States Code, Section 846,

and possessing a firearm in furtherance of a drug trafficking crime in violation of Title 18, United

States Code, Section 924(c). The indictment was returned by the Grand Jury, and an arrest warrant

issued for WILLIAMS, on October 13, 202 1. Efforts to arrest WILLIAMS were unsuccessful , and

a fugitive investigation was initiated.

         18.    On October 19, 202 1, USMS investigators conducted an interview of Alexandria

VENOYA-WILLIAMS, WILLIAMS ' estranged wife and the mother of his two minor children.

During the interview, V ENOYA-WILLIAMS indicated she and WILLI AMS were estranged but

indicated WILLIAMS was a loving father and, despite not knowing his whereabouts, believed

WILLIAMS would maintain lines of communications where the couple's two minor children.

VENOYA-WILLIAMS also indicated the children both had electronic devices.

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       19.     Subsequent interviews conducted by USMS in October 202 1 of WILUAMS '

mother and in December 2021 of WILLIAMS ' brother failed to reveal information concerning

WILLIAMS ' whereabouts. During the interview of WILLIAMS' brother (Geordan REED), REED

indicated he was told by family members WILLIAMS' was a fugitive.

       20.     Additionally, WILLIAMS stated he was very close with his children during a pre-

indictment interview with the DEA and Postal Inspectors.

       21.     USMS investigation later determined that, m December 2021 , VENOYA-

WILLIAMS and the two minor children moved from San Bernardino County, California, to Las

Vegas, Nevada. The move was not characteristic of VENOY A-WILLIAMS, who had previously

been a long time San Bernardino resident and most of her relatives lived in California. January

2022 surveillance by the USMS in     evada confirmed VE OYA-WILLIAMS and the two children

were living at an apartment in Las Vegas, but WILLIAMS was not seen during the surveillance.

The children were un-enrolled in San Bernardino-area schools in December 202 1, and enrolled in

a Las Vegas elementary school effective in January 2022.

       22.     On January 12, 2022, I obtained via subpoena from Apple information related to

iCloud accounts associated to WILLIAMS , as well as accounts associated to residences associated

with WILLIAMS, and telephone numbers historically attributable to WILLIAMS, VENOYA-

WILLIAMS, and the couple's children.

       23.     Information provided as part of the production by Apple included Internet Protocol

(" IP") login activity and subscriber details associated to several iCloud accounts, including:

       "glennjwill20 1 l @icloud.com"
       " lexiiv89@gmail.com"
       " lexiiv89@icloud.com"
       " lexiv89@icloud.com"
       "alexandriav89@icloud.com"

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        "ekingwilliams@icloud.com'·
        ·'elijahkingw@icloud.com"

        24.     In reviewing the data, I and other investigators noted the presence of several

overlapping "verified phone" numbers on the accounts. Specifically, telephone number (8 18) 245-

2556 (previously determined by USMS investigators to be VENOYA-WlLLIAMS ' longstanding

cellular telephone number) was listed as the verified phone for the iCloud accounts

'·alexandriav89@icloud.com,''     "ekingwi lliams@icloud.com,"           ··elijahkingw@icloud.com,"

"lexiiv89@gmail.com," and ··1exiiv89@icloud.com." Additionally, "Facetime/iMessage Phone"

numbers were listed for "elijahkingw@icloud.com" (442-343-6816) and ·'lexi iv89@icloud.com"

(442-343-6815).

        25.     Account    "elijahkingw@icloud"      was   created    on    August    3,   2021   and

" lexiiv89@icloud" was created on July 27, 202 1. Of note is DEA and USPIS investigators

representations to USMS investigators concerning their contact with WILLIAMS during the

underlying drug investigation, wherein investigators communicated regularly with WILLIAMS

after the execution of a search warrant in May 202 1, until WILLIAMS abruptly stopped

communicating in July 2021 . Toll data fo r the cellular telephone associated with WILLIAMS at

the time showed call activity ceasing in mid-July 202 1. Since July 202 I , neither DEA, USPIS, nor

USMS investigators have been able to ascertain an active telephone number for WILLIAMS, nor

his location.

        26.     A review of IP login acti vity m December 202 1 and January 2022 of the

aforementioned accounts showed several suspicious logins. Specifically, on January 11 , 2022, an

IP    address    located   m    San     Bernardino     County,       Cali fornia   accessed   account

"ekingwilliams@icloud.com"; while "elijahkingw@icloud.com," "alexandriava89@icloud,"


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"lexii89@ icloud.com," and "glennjwill201 l @ icloud.com" all have logins from IP addresses in

Las Vegas, Nevada.

        27.      Also on January 11 , 2022, ·'glennjwill2011 @ icloud.com" had IP login activity in

California and Nevada less than 3 hours apart. While it was conceivable that a person could drive

between the locales on the same day, the IP logins were associated to an account believed to be

the moniker of Glenn Williams Jr., who is a 10-year-old child. Moreover, as the surveillance of

VENOYA-WILLIAMS in Las Vegas, Nevada only noted the presence ofVENOYA-WlLLIAMS

and the two children, it is unlikely VENOYA-WILLIAMS left the two children unattended during

interstate travel.

        28.      This login activity is indicative of multiple devices being linked to the same iCloud

accounts.     As such, it is believed that in the absence of traditional telephone calls between

WILLIAMS, his minor children, and possibly his estranged wife, WILLIAMS is likely using

applications and other internet-based communications services to communicate with his family ,

and that information is stored in the content retained by Apple.      Additionally, several accounts

with minor derivations (for example, the Grand Jury subpoena revealed the presence of accounts

for " lexiiv89@ gmail.com", "lexiiv89@ icloud.com", and " lexiv89@ icloud.com" are suggestive of

VENOYA-WILLIAMS (whose nickname is known as '·Lexi") creating multiple accounts which

are, in turn, accessed across several platforms.

        29.      In my training and experience, some fugitives avoid traditional telephonic

communication with friends and relatives, believing it easy for law enforcement to track their

whereabouts via telephone. A trend by some fugitives is the use of web-based applications and

communication services to facilitate communication with friends and relatives, while

simultaneously limiting their attribution of calls and text messages over regular service providers.

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The kinds of data that may be stored in an Apple ID account can provide information concerning

new or additional cellular devices, Internet Protocol addresses, email addresses, location

information, downloaded apps, and other information which may be utilized in furtherance of

identifying Williams' location for purposes of arrest.


             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       30.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)( l)(A), by using the warrant to

require Apple to disclose to the United States copies of the records and other information

(including the content of communications and stored data) particularly described in Section I of

Attachment B.     Upon receipt of the information described in Section I of Attachment B,

government-authorized persons will review that information to locate the items described in

Section II of Attachment B.

                                          CONCLUSION

       31.      Based on the forgoing, I request that the Court issue the proposed search

warrant. The United States will execute this warrant by serving the warrant on Apple. Because

the warrant will be served on Apple, who will then compile the requested records at a time

convenient to it, reasonable cause exists to permit the execution of the requested warrant at any

time in the day or night.

       32.      Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

       33.      I further request that the Court order that all papers in support of this application,

including the affidavit and warrant, be sealed until further order of the Court. These documents


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discuss an ongoing criminal investigation that is ne ither public nor known to all of the targets of

the investigation.   Accordingly, there is good cause to seal these documents because their

premature disclosure may g ive targets an o pportunity to flee/continue flight from prosecution,

destroy or tamper w ith evidence, change patterns of behavior, notify confederates, or otherw ise

seriously jeopardize the investigation.

       I state under the penalty of perjury that the foregoing is true and correct.


                                                      DREW POL(i2-/&
                                                      SENIOR INS PECTOR - USMS


Sworn to, attested to, or affirmed before me via reliable e lectronic means pursuant to Federal Rules
                                          2nd
of C rimina l Procedure 4. 1 and 4 1 this _ _ day of February, 2022.


                                                         /s/ David D. Noce
                                                      DAVID D. OCE
                                                      U ITED STATES MAG ISTRATE JUDGE




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                                      ATTACHMENT A

                                   Property to Be Searched

This warrant applies to information associated with:

 glennjwill201 l @icloud.com;" lexiiv89@gmail.com; 11 11 lexiiv89@icloud.com;"
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 lexiv89@icloud.com;" "alexandriav89@icloud.com;" "ekingwilliams@icloud.com;"
11


"elijahkingw@icloud.com"

(the "accounts") that are stored at premises owned, maintained, controlled, or operated by Apple

Inc., a company headquartered at Apple Inc., 1 Infinite Loop, Cupertino, CA 95014.




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                                      ATTACHMENT B

Particular Things to be Seized

I.     Information to be disclosed by Apple

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Apple, regardless of whether such information is located within or outside

of the United States, including any messages, records, files, logs, or information that have been

deleted but are still available to Apple, or have been preserved pursuant to a request made under

18 U.S.C. § 2703(±), Apple is required to disclose the following information to the government, in

unencrypted form whenever available, for each account or identifier listed in Attachment A:

       a.      All records or other information regarding the identification of the account, to

include full name, physical address, telephone numbers, email addresses (including primary,

alternate, rescue, and notification email addresses, and verification information for each email

address), the date on which the account was created, the length of service, the IP address used to

register the account, account status, associated devices, methods of connecting, and means and

source of payment (including any credit or bank account numbers);

       b.      All records or other information regarding the devices associated with, or used in

connection with, the account (including all current and past trusted or authorized iOS devices and

computers, and any devices used to access Apple services), including serial numbers, Unique

Device Identifiers ("UDID"), Advertising Identifiers ("IDFA"), Global Unique Identifiers

("GUID"), Media Access Control ("MAC") addresses, Integrated Circuit Card ID numbers

("ICCID"), Electronic Serial Numbers ("ESN"), Mobile Electronic Identity Numbers ("MEIN"),

Mobile Equipment Identifiers ("MEID"), Mobile Identification Numbers ("MIN"), Subscriber

 Identity Modules (" SIM"), Mobile Subscriber Integrated Services Digital Network Numbers
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("MSISDN"), International Mobile Subscriber Identities ("IMS!"), and International Mobile

Station Equipment Identities ("!MEI");

       c.      The contents of all emails associated with the accounts from May 1, 2021 to

present, including stored or preserved copies of emails sent to and from the account (including all

draft emails and deleted emails), the source and destination addresses associated with each email,

the date and time at which each email was sent, the size and length of each email, and the true and

accurate header information including the actual IP addresses of the sender and the recipient of the

emails, and all attachments;

       d.      The contents of all instant messages associated with the from May 1, 2021 to

present, including stored or preserved copies of instant messages (including iMessages, SMS

messages, and MMS messages) sent to and from the account (including all draft and deleted

messages), the source and destination account or phone number associated with each instant

message, the date and time at which each instant message was sent, the size and length of each

instant message, the actual IP addresses of the sender and the recipient of each instant message,

and the media, if any, attached to each instant message;

        e.     The contents of all files and other records stored on iCloud, including all iOS device

backups, all Apple and third-party app data, all files and other records related to iCloud Mail,

iCloud Photo Sharing, My Photo Stream, iCloud Photo Library, iCloud Drive, iWork (including

Pages, Numbers, Keynote, and Notes), iCloud Tabs and bookmarks, and iCloud Keychain, and all

address books, contact and buddy lists, notes, reminders, calendar entries, images, videos,

voicemails, device settings, and bookmarks;

        f.      All activity, connection, and transactional logs for the account (with associated IP

addresses including source port numbers), including FaceTime call invitation logs, messaging and

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query logs (including iMessage, SMS, and MMS messages), mail logs, iCloud logs, iTunes Store

and App Store logs (including purchases, downloads , and updates of Apple and third-party apps),

My Apple ID and iForgot logs, sign-on logs for all Apple services, Game Center logs, Find My

iPhone and Find My Friends logs, logs associated with web-based access of Apple services

(including all associated identifiers) , and logs associated with iOS device purchase, activation, and

upgrades;

         g.       All records and information regarding locations where the account or devices

associated with the account were accessed, including all data stored in connection with Location

Services, Find My iPhone, F,ind My Friends, and Apple Maps;

         h.       All records pertaining to the types of service used;

         1.       All records pertaining to communications between Apple and any person regarding

the account, including contacts with support services and records of actions taken; and

         J.       All files, keys, or other information necessary to decrypt any data produced in an

encrypted form, when available to Apple (including, but not limited to, the keybag.txt and

fileinfolist. txt files).

         The Provider is hereby ordered to disclose the above information to the government

within 14 days of the date of this warrant.




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II.    Information to be seized by the United States

       All information described above in Section I that constitutes the location of Glenn

Williams, a federal fugitive, from May 1, 2021 to the present, including, for each account or

identifier listed on Attachment A, information pe.rtaining to the following matters:

        a.     Information which may reasonably assist the United States Marshals Service in

identifying linked devices, IP addresses, third party application data, location information, and

other information which would be relevant in assisting in the location and arrest of Glenn Williams,

a federal fugitive;

        b.     The identity of the person(s) who created or used the Apple ID, including records

that help reveal the whereabouts of such person(s) ;

        c.     Evidence indicating how and when the account was accessed or used, to determine

the chronological and geographic context of each account access, use and events relating to the

accounts subscriber(s);

        d.     Any records pertaining to the means and source of payment for services (including

any credit card or bank account number or digital money transfer account information);

        e.      Records and things evidencing the use of the Internet to communicate with servers,

 including:

               1.     records of Internet Protocol addresses used and records of Internet activity;

              11.     records of Internet activity, including firewall logs, caches, browser history and

 cookies, "bookmarked" or "favorite" web pages, search terms that the user entered into any

 Internet search engine, and records of user-typed web addresses;




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       f.      Evidence indicating how and when the cellular device and associated cellular

service was used to determine the chronological context of cellular device use, account access,

and events relating to the crime under investigation;

       g.      Evidence indicating the geographic location of the cellular device at times

relevant to the investigation;

       h.      The identity of the person(s) who sent to and/or received communications from

the account that help reveal their whereabouts.




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